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Exhibit O
f 35 PagelD 1596
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iN THB ELEVENTH: TatncALé eeurt
ANCAND FOR: MIAMI-DADE COUNTY,
FLORIDA

AMERICAN, GENERAL LIFE

Pg: ——--GASENO.:2009.5m24-C4-01

Trustees; MARS Ss. “BRIGHT ‘nd
CHRISTIANA ‘BANK & TRUST CO.,: as
Trustees of the MICHAEL SASONT 2007-1 |
INSURANCE TRUST and MICHABL SASONI
200722 INSURANCE TRUST. ‘MICHAEL.
SASONI, individually; STEPHEN B
WECHSLER, individually arid a8 principal of
the ‘The Wechsler Financial Group, Ine.; THE
WECHSLER | FINANCIAL GROUP, INC.

KEVIN BECHTEL, individually and as
principal of Life Brokerage Partners, LLC; and
LIFE BROKERAGE PARTNERS, LLC

Defendants,

COMPLAINT:& DEMAND
FOR JURY-TRIAL

Plaintiff, AMERICAN GENERAL LIFE INSURANCE COMPANY (“Armetican
General”), sues Deferidants, THE MICHAEL SASONE 200731 INSURANCE TRUST and THE
MICHAEL SASONI 2007- 2 INSURANCE TRUST, by and throwph thet ‘Tristées; MARSHA
8. BRIGHT. and CHRISTIANA BANK a TRUST: ED:, as “Pristees of the’ MICHAEL SASONI-
| 2007-4 INSURANCE TRUST and the MICHAEL SASONI 2007-2 INSURANCE TRUST;

MICHAEL SASONI, individually: STEPHEN B. WECHSLER, individually and as principal. of
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17: Page 3 of 35 PagelD 1597
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The Wethiler Financial: Group, ine THE WECHSLER FINANCIAL GROUP, INC. KEVIN

‘BECHTEL, indidualy and ag. pencil of. Life Brokerage: Pariners, LLC; | and LIFE

rrocuré a ty improper and: fran means, “thd proouted’ fot improper and sndisclosed -

: purposes, American General: ‘soued poliey rumibers . UMo0d4iséL aiid UNoD4aISOL (the
Policies) i in Augiust 20607 i insutibg the life of defendant MICHAEL SASONI tthe “Insuted”): for a.
total: combined face antount of $20,000,000, unknowingly relying upon documents submitted by —
Defendants in. a-fraudhilent scheme designed to procure life insurance on an individual for which
there's no insurable interest and sell the Policies to. investors whe are unrelated to the Insured
and who are speculating on the life-of the Insured. American Genetal issued the Policies based
‘upon a facially. appropriate application. American General has now discovered that the
transaction ‘was part of a scheme perpetrated by (a) the Insured, along with (b) defendants
Stephen Weehsle, The Wechsler Financial Group, Inc., Kevin Bechtel, and Life Brokerage
Partners, LLE (collectively, the “Brokers"), and by. (e) defendants Marsha 8. Bright- and
Christiana Bank and Trust Co. (collectively, the “Trastees”), as trustees of the irisurance trusts
namjed above (the “Trusts” , Which was designated asthe. ostensible owner of the Policies.

2. . This scheme consisted of a plan to recruit older persons to pose as applicants for
and proposed owners: of large-face-anoun life insurance policies thai were never Theat to be.
retained by. the ostensible owners after | issuarice,. instead, the Policies procured in this: $ase were
aptuatly procuned by the true owners of the Policies -- the Brokers, the Trusts; the Trustees

and/or their unnamed investors (some of whom later iiay be added as parties as American
- Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 4 of 35 PageID 1598

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: General discvers th their: identities) « a in ani effort t9 eid the: insurable interest: requireineits of :
state. law so° ‘hat they could hold andlor ‘ultimately: -séll, ts Policies. {0° third-party. investors

- seeking te to wager on the life of thé Insured. Defendants? procurement of the Policies wis without .
a ‘Tegitimiate insurable. dnterest and based ‘upon. fravidulent snstepresentations that Void: he.

Policies: tnider. tite ¢ laws of ay thishepresestaion and fescission and: oi insurable interest,

3. ‘This action isan. setin an part for. déclatatory aiid other equitable relief based on
Pla. Stat, §§ 86, oll, 27. 404, and. 627, A091) and for damages in’ ‘excess of the 3 jussditiona
limits of this Court under Fla. Stat. § 26.012. :

4, Venue i in this-judicial district is proper pursuant 10 Fla. Stat. §§ 47, On and 47. 051
bécause the canse of action accrued, and at least one Defendant resides or conducts business in
Miami-Dade County Florida.

>» This Court has personal jurisdiction over all Defendants beciuse each of the
Defendants participated ‘in a conspiracy to commit a tortious act within the State of Florida and
caused injury to Plaintiff in the State of Florida,

PARTIES

6, Plaintiff American General is an insurance company organized under the laws of

Texas with its principal place of business in Houston, Texas, ‘Ainérican General is lidenséd and

“authorized: to engage in the business of, among other things, selling life insurance in the State of

Florida anid.has at all times complied. with Florida law governing the insurance bisitiess in the
Suite: .

7. ‘Upan information and belief, Defendant MICHAEL. SASONT is a citizen af the

State of FI lorida, residing in Miarni-Dade County.
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‘8. The. MICBAEL SASON 20071. Insurance Trust: anid the: MICHAEL SASONI
2007-2 Ingarance Trust afe: ‘rusts subject to the ownership find contrat af their Trustees wet ‘forth.
] in the following: paragraph who, on information and ipeligh ‘are citizens af the State of Delaware.

g, "Upon information and, ‘belied ‘Defendants: Marsha & Bright righ?) in: cher:

“ are'citizens of the.

. capacity as. trustee; andl Chtintian. Bask and Trast Co. (Chita Bank")

‘State of Delaivne, with their principal place: of ‘bisinesé 4 in: Delawate, Bright and Chititians
Bank are: the fiustees: of the Tmists set forth: in the presedg paragraph, which cuirtently ‘own. and
. hold the Policies. .

10. Upon information and. belief, Defendant Stephen Wechsler (“Wechsler”) is a
citizen of the State of New York, with -his principal place of business in’ New York, New York,
and is the principal of The Wechsler Financial Group, ‘Inc. Weehslet was. appointed with .
American General under an independent brokerage contract at all times relevant to the
transactions and events Set forth in this action.

11. Upon information and belief, Defendant The. Wechsler Financial Group, Inc. is a
New ‘York Corporation with its principal place of business in New York, New York.

12, Upon information and belief, Deféridant Kevin Bechtel (“Bechtel”) is a citizen of
the State of Florida, with his principle place of business in Oldsmar, Florida, and.is the principal
of Life Brokerage Partners, LLC. Bechtel was appointed with American General under -an
independent broketage contract at all times relevant 10 the transactions and.¢vents set forth in

~ this action,
13. Upon information and ‘belief, Deferidant ‘Life Brokerage Partners, LLC, Chite
Brokerage”) is a. Florida Limited, Liability Conipany with its principal place. of biisiness in

Oldsmar, Florida.
Case 8:15-cv-00192-AEP Document 127-15. Filed 05/02/17 Page 6 of 35 PagelD 1600
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14, Over the last dette, a seeanday inarket his cera in which Speculative

invesions have: soa 10 obtain, and i ‘inm iy. eases have weeded in obtain, a peetiniary

interest in ite 4 insurance’ policies inguring the lives of strangers. Aho there. ate: thet

varieties of secon make transactions, te nibst problatiatic apeedinive scenario is. where .

the insured andlor poliey ‘owner intends at iooepion foi the. Policy: or a beneficial interést‘in the
entity: ‘that owns the policy to ie sold to: spetulators..

15. These speculators do not acquire an interest ina tie i insurance policy insuring the.

. dives of persons with whom they have a fardilial relationship, or in whose longevity they possess
a legally recognized interest; instead, these speculators purchase policies that insure the lives of
strangers ~ OF, in many cases, purchase benefi cial interests in insurance trusts or ownership i in
shell corporations that 0 own n those policies ~r in the expectation that they will profit by the death
of the insured.

16. Such arrangerfients are commonrily refetred to as 1OLI, which stands for “investor-
originated life insurance,” or STOLI or SOLE, which stands for ‘strangér-originated life
insurance,”. sometimes known as “stranger-owned life insurance.” (These transactions are
referred to as “STOLI” herein.)

17. STOLI transactions often fun afoul of staté insurable interest laws and-uniyersdl
public policy , which protect the integrity of life insurance by requiring that-a policy owner have
a cognizable intéfest in the longevity of the insuréd at the time the policy is issued:

18. Speculatots, who are the true intended vines of : sToLi policies, ‘attempt to
circumvent the law anid public. policy by carefully constiucting their transactions in order to hide

these impermissible investments,
- Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 7 of 35 PagelD 1601
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19, The speculators must first find 8 relatively older and highnet: woth inva (or .
persons. willing: to fraudulently. inflaie ‘theif: finance: sah) willitg. to. ‘pavicipat ib the ,

‘nvesinent tratisactions, Logi cally, the: stout investors seek. out ihe highest anticipated rates. of

. vrétii: when: choosing ‘the life. i itduranee ‘poli Of whidl hey: awit: specillate: This: ‘nears’ the:

yea: life: insurance policy to: ‘which ‘sponlators eravitate insures the: Hite’ of an: individual
approaching age sevieiity or: ‘older, with: a “net worth. me! ‘or a ttnudaletly misteprésented niet siorth
oe of over one smifion dollars, ‘Ofteti purposefully manipulating theit reported net ‘worth,
individuals i in such ain age rarige can pbtais large-face-arhount pilisies and, actuarially. speaking,

are expected to have a relatively limited lifespan.

1 ey

‘20 The specul ators must also determine the resale value of the policy in ‘the. setondaty
market; this value is ‘based largely tapoh the Jife expettanicy of the prospective. insured. The
shorter the expected lifetime of thé prospective insured, the more valuable the policy is to those
who would gamble on his or her life. Prior to-the resale of a policy, the prospective insured often
submits to.a life expectancy analysis, the results of which are provided to putative investors,
21, Once the speculators locate an individual .who meets their investment profile, and
more importantly, agree to collaborate in the STOLI arrangement, ah application is submitted for
-One or more insurance policies. The speculators typically pay most of all of the prospective
insured’s Coats, itieluding premium payments, Some speculators even agrée to pay the
prospective insured a feé upon the issuanee.of the policy,
22. In many cases, the policy application indicates that a third-patty entity, such as-a
‘thust, ashell corporation, or a limited partnership, will be the owner-and beneficiary of the tite.

insurance proceeds. This permits the speculators t6.acquiré an interest in this holding entity -
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 8 of 35 PagelD 1602
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and, most importantly, in the death ‘benefit that later will be disbirsed + while hiding the facts of
their: ownership from thei insurer: .

. 2, nothin vay the investois obtairi nership of the policy is te ion the ingiired the.

fits. 16 pay the premium fot & finite petiod af time: ‘asia forthe. two-year eo
petiod Onde this ontestabity period has expired, the insured can: either “repay. the: foan or.
assign the policy’ to” the investors in’ satisfaction of the loti, this completing the: transaction, "The

“ Joath ig structured in. a wy 10 encourage the inured: to. assign ihe policy to the investors by,
among: other things, foaning the funds with exdrbitant fess and: interest ratés.

a 24. While. there are ‘many other variations: -all STOLI programs have one thing in
common: their objective is to give investors whio have no insurable. interest in the life of the
insured a stake in the life insurance policy of a complete stranger that is intended to produce:
windfall to the investor that becomes more valuable the earlier the insured dies..

25. ° During the time of the transactions described herein, Wechsler and Bechtel were
appointed as. independent brokers authorized to procure and. submit applications from
prospective insureds for the issuance of a life insurance policy by American General, subject 10
underwriting and approval by American General.

26. In or around August 2007, the Brokers procured and submitted ani application for
lifé insuranice seeking coverage on behalf of the Insured, which resulted in American General’s
issuing the Policies.on the life-of the Insured fora total combined face: amount of $20,000,000.

27, Set out in tore detail below,:as.part.of the application process for the Policies, the
Insured, the Brokers, and. the Trustees, answered. detailed questions of the life insurance

_ application necessary for the underwriting of the Policies,
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“As part of the completion of the. life ihéutanee application, ihe Insured and the

“Trustees swore ty the truthfulness of their representations contained: in that application by their’

signature with the following agreénietit:

I ‘Hlive ‘ead the above ‘Blatertients or F they have’ been seid to’ me.

‘bed to 2 reduce ot Tonys a claim. of tree oo pol
its contestable. period;. ‘and (2). such mistepresentation’ materially
affects the acceptance of the'risk.

1 undérstand and agree that no agent is authorized to’ accept risks
or pass upon insurability: make or modify contraéts; or waive any
ofthe Angurer’ ‘$ Tig ights or requirements.

29. Likewise, the Financial Questionnaire completed and signed by the Insured ard the
Trustees contained the following agreement:
All of the above answers are full, complete and true to the best of
my ‘knowledge and belief, and are a confirmation of, and form a
part of, the-application for insurance.
30. Likewise, Part A of the Policy application contains a certification for the broker to
complete, Defendant Wechsler signed the certifications on the: Policy-application:

I certify that the information supplied by the proposed
Insured(sownier has been truthfully and accurately. recorded on

the Part A:application.
31, TheJnsured and Trustees obtained the Policies, on the basis of the-application and
‘other required and. related documents, naming the Trusts .as the ostensible ownérs and
‘beneficiaries: -
32. American Geiieral issued the Policies in August 2007; which bear a policy. date of

August 3, 2007, for a total combined face amount of $20 million, as.a-result of an application
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 10 of 35 PagelD 1604 .
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dated: on or. about August. f, 2007 ‘sibmitted. to: Afneican General Ny the. Brokers, waming the
MICHAEL. SASONI 2007-1 Insurance Trust. as. ‘the ostensible owner and benefic ieiary of Poli¢y:
. ‘Nuhiber UMO044 S81 and the: MICHAEL SASONI 3007-2 tnsuratice Trust as: the ostensible
oNiiE and beneficiary of Poliey Number UMOD+4139L, The’ application also indicated that the .
- purpose of ‘the inguirance was. “financial planting” American’ ‘General: xtlied ‘upon this
infomation in dptpetatg whether. to issue “thé Policies. This. representation: was: false .

a3, The insured was 570: ‘years’ old as of the. policy date,

BAe On or aboitt August 1, 2007, ih Part A of the: application for the Policies, the
Insured, Brokers, and Trustees répresentéd the Insured’s househiold income io be $3,270,000,
and his net worth io be $65, 500, 000, Upon information and belief, these: representations were
false, American General relied upon this information ‘in determining whether to issue the
Policies,

35. On or about August 1, 2007, in the Financial Questionnaire portion of the
application for the Policies, the lisured and Trustees represented the Insured’s household income
to be $3,270,000, and his net worth to be $65,500,000, Upon information and belief, these
representations were false. American General relied upon. this information in determining
whether to.issue the Policies,

36. Wechsler expressly represented as-part of the underwriting process, on of about
August I, 2007, that: (1) the Insured was riot “receiving arty. cash payment, borrowing funds in
excess of those required to pay the scheduled premiums cand iffetest or recéiving any other
consideration as an inducement io ‘participate in this ‘fehshotion,” sand Q). “there: 48. no -

prearranged agreemient to transfer the policy-nor will the policyholder have d prearranged -option
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 11 of 35 PagelD 1605
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oF right. of first refusil to transfer the poliey 40 10a thir aaty > ‘Upon information and belief
‘these: Hepresentati ong were felse: a .
47. Upon information and belief, ihe insived did not make, and, bes not made, any
. premiut payments oft ihe Policies. ‘The fads advanced. to-pay tor the Policies ‘were: founed |
aiid/or proouie by: the Brokers, Trustees, andor unhainied investors. .
98 lt wenneotion with thé Poliies, bot Wesker anid Bekttel received siibistantial
monetary commission’.

39, ‘The. Brokers and Trustees solicited the insured to take parti ina fraudulent STOLI
scheme whereby the Insured would apply 10 American General for life insurance for which he
‘would not pay and would not keep but, instead, would sé]] -- through ihe aid of the Brokers,
Trust, and Trustees -- to investors who have no insurable interest in the life of the Insured.

40, The Trasis, though the ostensible original owners of the Policies, are not the true
owner of ‘the Policies but, instead, are pass-through owners designed to deliver ownership and
interést in the Policies to the true owners of the Policies Who are narned and or unnamed
investors with no insurable interest in the life of the Insured. As a result, Defendants and/or

other unnamed investors have invested in and are wagering on the lives of other persons. These
STOLI trarisactions clearly violate state law and public policy.

‘41, Defendants’ istent for the Policies, from the beginning of the transaction, was to
transfer and/or sell thé Policies to companies, investors, investor groups, ot other third parties
who are strarigers with no insurable interest in the-lives of the Insured.

43, Defendants’ represented to- American General that the. Insuted’s designated.

beneficiaries, thtough the Trust, were the Policies’ true beneficiaries. These representations were

10
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 12 of 35 PagelD 1606
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other named and/or. unnamed investors: who have. ne insurable interest i in nthe life of: thé insured.
4h AS part of the. STOLT scheme, ithe Brokers aid the t fustecs conspired in, or. afound .
Angst 2007, vith. an, individual. know as ‘Frank Pallicone,. puiporing to: be: a provider of

denne, inspection reports, to submit false and/or fraudulent. information: On. ahdior

‘that the: Insts net worth was $65, 500) 000, 4 chat his annual i ‘income ‘was. $3 270, 000, and that
che had lived in his Aventura résidence for twenty years, Upon. information and belief this’
information was false.

44. Actual. controversies exist between the parties as 16 whether (a) the Policies are
void ab initio because (1) Defendants materially misrepresented the true fers in the Policies’
applications and/or the Policies were procured by fraudulent means and (2) the Policies Jacked a
lawful insurable interest; and as to whether (b) American General is entitled to (1) retain the
premiums paid on the Policies and io (2) receive commission chargebacks from the Brokers in -
connection with the Policies, A declaratory judgment on these issues will completely resolve the
controversies amorig the parties,

COUNT ONE
Declaratory Judgment for Rescission of the Policies Based on Misrepresentation
(Against the Insured; the Trust and the Trustees)

45. American General realleges and incorporates by reference herein all preceding .
paragraphs in this Complaint.

46. American General is entitled, to. rescind the . Policies based on the. material

misrépresentations set out herein.

1] °
_ Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 13 of 35 PagelD 1607
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/ AT. -Atherican’ General: is entitled to tescind the Polities puts to Fla: ‘Stat, $

627, AHL whieh piovide pertinent part;

{a) The snisrepresentation, omission, coricealrHent,’ ‘orstatement
is fraudulent or 78 material. either: to. the acceptance of the risk orto
the hazard assumed bythe insurer.

would not have. "issued the policy or ‘contract, “would not have
issued it'at the sare ‘premium rate; would not have isstied-a policy
or cofitract in.as large an amount, or would not have provided
coverage with respect to the hazard resulting in the Joss.

(Emphasis added).

48. The Instired, the Trust and the Trustees made misreprésentations, omtissions, and
concéalments of fact and/or incorrect statements in the Policy application and as part of the
negotiations for the. Policies’ issue. American General was entitled to, and did, rely on the
truthfulness and accuracy of the representations made in the Policy application, and during. the
application process, in issuing the Policies.

49, The Insured’s, the Trasts’, atid the Trustees’ misrepresentations, omissions,
concealments: of fect and/or incorrect statements ‘were fraudulent, and/or material, and/or
American General wouild Hot have issued the. Policies had it knowin the true facts. surrounding the

Policy transactions, facts that the. Insured, thé Trusts, and the ‘Trustees were required to disclose

pursuant to the Policies’ requirements and/or other requirements.

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Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 14 of 35 PagelD 1608
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$0. An aetiual controversy exists between the partes as to whether the Polivies are void
ab initio: because the Ingured, thie Trusts, ard the’ Trustees iitetially histepesented the true
facts i inthe: Policy eppicton and/or the Policies were: ©: procured by fraudulent inéains: "Sich
inirepresentations. and/or onissions. colistinite a fade of eondition precedent fois -soverage
‘under the Policies. “Méteover, . pursuant to state: law; ineludiag Fla. Stat; 8 627-4091), ‘the
misepesentations ate grounds for cescission Of the Policies, A deenatatory jndathent en this:
issue will completely. resolve the controversy among: the parties,
A. American General is entitled to a judicial. declaration ‘stating ta) that ‘the Policies
did not ‘take effect because the Insured,. the Trusts, and the’T. Trustees failed to perform a condition.
prevédent for coverage under the Policies; (b) that the Policies were void ab initio a8 a-result of
the material misrépresentations made ‘by the Insured, the Trusts, and the Trustees in the Policy
applications; or (c) that application of Fla. Stat, § 627.409(1 ) requires. rescission.
$2. Asa result of the misrepresentations and concealment by the Insured, the Trusts,
ahd the Trustees, American General has been forced to expend money and resources, among
other ways, in its underwriting and issuance of the Policies, in its administration and rervicing of
the Policies, in jts investigation of the tisrepresentations, suppressions and concedlments: set
forth herein, and:in bringing this. action for relief, Thus, American General is entitled to retain
the premiums. paid on the Policies by way of disgorgement and/or offset of damiages ineurred by
American General as a result of the Insured’s, the Trusts’, andthe Trustees” fraud.
53. Although in this and other Counts herein American General has demonstrated its
eftiflement to. retain the préfiuins paid on the Policies at. issué:in this action, and has sought:a
déclaration from this Court accordingly, Américain General hereby. cnstnittively tenders the

premiums on the Policies to this Court and stands ready to pay thé premiums into the Court

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registiy should the Court 86 reguite Ammeriean » Genetal espe sites that itis seeking a
detlatatory Judgment that. it ds. entitled. to tetain the premiums is itt no way’ intended 40 waive
Aierican General’ § ettitlement to rescind andjor void the Policies.
“ WHERBFORE, j ‘Premises vonsitered, American General respectfully requests ‘ati Order

including oF ateiing the ‘Pollowing. tell -
a. Fora deelanatory judgment stating that: the. Polities did hot take effet for
. Taihire of the performarice ofa eonidition precedent becttise the lisured, the Trusts, and

the Tnistees materially misrepresented the. true. facts inthe: Poli icy. applications;

b, Inthe alternative, for a declaratory judgment stating that the Policies were
void ab initio as a. result of the Insured’s, the Trusts’, and the ‘Trustees’ material
misrepresentations upon which. American General relied;

t. In the alternative, for a declaratory judgment stating that the application of
Fla, Stat. § 627.409(1) requires rescission of the Policies:

d. For an award of American General’s costs incurred in this action;

e Fora declaration that American General is entitled to retain premiums
paid on the Policies: and

f. For other such relief the Court deenis proper, just and equitable,

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Declaratory Judgment + Restission andlor .
Voiding. of the Policies Based on Lack of Insurable Interest
(Against the. Instired, the Tritt, wand. the ‘Phissteet)
$4, Ainterictin: ‘General realleges and. inecnporates by referent herein piragaphs 1-44
of the Complaint as if set forth fully hetein, :
35, ‘The Policies” lack a lawful insurable interest. ‘The Policies are . egal wagering
contracts under state jaws and publig policy’

56, The. Policies violate Fla, Stat, §.62 TAA,

57. The. Defendants made statemefits, declarations, and représentations that were
untrue relative to the insurable interest in the Insured’s ‘life, American General relied in good
faith on those untrue misreprésentations, omissions, and concealments of fact and/or incorrect
statements in the Policy applications. As a result, American General has been damaged by,
among: other things, issuing Policies that is void under state. Jaws and public policy.

58. The STOLI scheme described. herein perpetrated by all Defendants violates the
letter and spirit of state law.on insurable interest and 4 inconsistent with the public policy of
prohibiting the wagering on the lives.of others.

59, An actual controversy exists between the parties as to whether the Policies are void
ab initio because of the Insuréd’s, the Trusts’, and -the Trustees" misrepresentations of the true

facts relevant to insurable interest and because the:procurement of the Policies violate state law
and public policy: Such misrepresentation andlor omissions and/or violation of state law and
public policy constitute a failore of conilition precedent for coverage under the Policies. A

declaratory judgment on this issue will completely resolve the controversy among 'the parties.

15
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 17 of 35 PagelD 1611
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60; American General. is entitled toa indicial declaration staring. (@) that: the Policies
did not take effet beware the Insured, ‘the Trusts, and the Tristeés failed 40 perform a condition:
presedent for coverage under the Policiés} or in the alternative: ) that the Policies are. void ab
initio asa “result of the matetial- thisrepréséntations ; made. by. the Insured, the ‘Trusts, and ihe
Trustees in the. Poliey applications on which. Americatt General relied and/or aga resilt of the
Policies violation of state law and:public: policy.

61, Asa result of the misreprésentations and d conceatinent by the tnsured, the Trasts,,
and the Trustees: in furtherance of this STOLT scheme, Ameriean General ‘has. been forced-to
expend money and resources, among other ways, in its. underwriting and issuance of the Policies,
in its: ‘Administration and servicing of the Policies, i in its investigation of the mistepresentations, .
suppressions and concealmenis set forth herein, and in. bringing this action for relief. Thus,
American General is entitled to retain the premiums paid on the Policies by way of disgorgement
and/or offset of damages incurred by American General as a result of the Insured’s, the Trusts’,
and the Trustees’ fraud,

. 62. Although in this and other Counts herein American General has demonstrated its
entitlement to retain the premiums paid on the Policies at issue in this action. and has sought a
declaration from this Court accordingly, American’ General hereby: constructively tenders. the
pretrifums on the Policies to this Court and stands ready to pay the premiums into the Court
registry should the Court so require. American General respectfully states that its actions in
seckinga declaratory. judgment that it is entitled to retain the premiunis is in ho way intended to
waive Americar’ General ’s entitlement to rescind and/or void the Policies.

WHEREFORE, premises considered, American General respectfully requests an Order

including or directing the following rélief:

16
Case 8:15-cv-00192-AEP ‘Document 127-15 Filed 05/02/17 Page 18 of 35 PagelD 1612
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a” Bora declaratory judgment stating ‘that the Policies did not take effect for
. failure of ihe Bétformafice ofa condition. precedent because the: Inguted, ‘the ‘Trusts, and
the Trustees materially misrepresented thie trie. facts in the Patiey applications: and/or fhe

. Policies violate state law and piiblic: policy!
4 In the alternative, for a declaratory judgment stating that thie Palities were
‘void ‘ab Yiitio as ae result: of the Ibi S, the Trusts", and the ‘Trastees* ‘rial
riiisrepresentations upon which Américan ‘General relied j in good faith and/or asa result. -
of the Policies’ violation of state law and, public policy;
ee An the allemative, for a. declaratory judgment statirig that the application of
Fla, Stat. § 627.409(1) requires rescission of the Polities;
d. In the alternative, for a declaratory judgment stating that the application of
Fla. Stat, § 627.404 renders the Policies void:
&. For an award of American General's costs incurred ini this action;
f. For a declaration that American General i entitled to retain premiums
paid on the Policies; and

g. For other such relief the Court deems proper, just and equitable.

Rescission and/or Voidanee of Policies and Disgorgement
Based on Frauil and Misrepresentation
(Against all Defendants)
63, Atherican Getieral realleges and incorporates by reference herein. paragraphs 1-440

of the Complaint as if set forth fully herein,
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 19 of 35 PagelD 1613
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. 64. - To indice Aimetica General to issue: the. Policies, Defendanty’ represented, to
Aiieriedh General what the froponed, Thisied had a cette Finacial fet ‘worthy ‘atid insurance
nets, as: aileged specif cally herein, siping the sizable’ insurance. coveltge sought.

8, Said ‘peentations were false. The tine facts were thal ihe iistired’s net worth

: and insirnce feeds wete: substantially dess‘than that represented.

OB. “Frithe, td tiidluce. Aeon Géieral ta issue the’ Policies, Defendants: caused false
and/dr fraudulent information to be. submitted to Atnerican’ Genetal from thita parties regarding
the insured! $ income; net worth and j ingutance. needs,

67. " Defendants’ representations were in fact false: Thi true facts were that the: Policies
were ‘purchased with the intent that it would benefit the Brokers, ‘Trustees, and/or unnamed
investors. Purther, the Trust’s purported ownership of the Policies were not intended ultimately
to benefit the Insured or his designated beneficiaries, but instead benefited the remaining
Defendants and unnamed investors.

68. Prior to issuing. the Policies, American General did not know that these
representations were false, but believed them to be true and, reasonably and in good faith, relied
upon them. Hac} American General (1) known the truth regarding the Insured's actual set worth
and insurance needs, and/or (2) known the truth of Defendants’ purpose in procuring the Policy -
~ to engage in an unlawful STOL1 scheme in. violation of state insurable interest cand
inisrepresentation laws and in violation of public: policy -- American General would not have.

“issued the Policies.
69. Defsidants took actions; did things, and engaged in-the linatithiorized and-unlawfal

activities alleged above atid incorporated hereiri-as part of Defendants’ STOLI scheme, knowing

18
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 20 of 35 PagelD 1614
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the representations made 1o American General ‘vers false, in Fortheranie of their scheme arid
oo with ihe intent fo déceive American Général and 10 induce’ it 40 issue the: Policies
1: In performing the acts herein alleged in furtherance of their scheme, Defendants
intentionally mnigtepresented and/ot concealed fom. American General: satel faots iindn to
the Defendants with the. intention: of inducing Amaricat General 6. issue fe Polities in violation

of state aw thereby making. American. General able for unlawt ingurace coverage ‘and

depriving, American Genetal of i its inorey.

71: Aga result of the misrepresentations and concealriient by Defendants, American
General has been forced. fo expend money and resources, arnong other ways, in its underwriting
and issuance of the Policies, in its administration and servicing of the Policies, in its
‘investigation of the misrepresentations, suppressions and concealments set forth herein, and in
bringing.this action forrelief. Thus, American General is entitled 10 retain the premiums paid on
the Policies by way of disgorgement and/or offset of damages incurred by American General asa
result of Defendants’ fraud.

72, Although in this and other Counts herein American General has demonstrated its
entitlement to retain thé premiums paid on the Policies at issue in this action and has sought a
declaration from this Court accordingly, American General hereby constructively tenders..the
premiums on the Policies to this Court and stands ready to pay the premiums into the Court
repistry should-the Court so require. American Genera] respectfully states that its seeking a.
declaratory judgment that it is entitled to retain ‘the premiums is ini no way- intended toe waive
American ‘General’s entitlement.io rescind and/or void the, Policies:

WHEREFORE, premises considered, American General respectfully requests an Order

including or directing the following telief:

19
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 21 of 35 PagelD 1615
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a For. a declaratory judgment stating that the Poligies did not:take effect for

_ “failure: of the Performance ofa: condition’ precedent because the Defendants materially
imisrepresented the true facts in the Policy applicettons;
be lh the aliemative, fora declaratory judisment stating that thé Polivies were :
| void a initio as a result of ‘the Defendants" ‘material: thistepresentations upon which
: Atnetican Gentil ielied i int good faith;
< Tn the altemiative, for A declaratory juderent stating that the application of
Fla. Stat, § 627,409 1) requires rescission of the Policies;
d, In the alternative, for a declaratory judgment-stating that the application of
Fla, Stat, § 627.404 renders the Policies void;
B For an award of American General’s cost incurred in this action:
f For disgorgement of any and all ‘proceeds and profits obtained by
Defendants as a result of their fraudulent scheme;
g. For a declaration that American General is entitled to retain premiums
paid on the Policies; and
h. For other such relief the Court deems proper, just and equitable,
COUNT FOUR
Civil Conspiracy
(Against all Defendants)
73. American General tealleges and incorporates by reference herein paragraphs 1-44
of the Complaint as if set forth fully: herein.
74, Defendants consist Of multiple patties, not all of whom necessarily had knowledge
of the entire scheme or plan herein, but ail of whom committed a¢ts-in furtherance of an overall

scheme known by the Brokers, the Trustees, and certain others.
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 22 of 35 PagelD 1616
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75. Ip of arourid May - August 2007, somne. or all of Defendants greed together to:
devise and EHECUIE A: ‘scheme ‘fo: solicit elderly: insureds, including the: Defendant Ingured,, vand
Procure. life i insurance policies well in. Excess of said insted? net worth with, an intent to avoid.
state iigurabile interest jawa: oo
6, . The: insure engaged: in mmutiple overt acts set. oitit ‘herein in fartherates of this.
conspiracy, inching, bui not: Himited to, meeting with ihe Brokers, maibropreseitng information
on insurance applications, causing thind parties to submit false and/or fraudulent information to.
_ Américan Genetal witli the intent to induce Armericari General 1 issue the Policies, establishing
two Trusts to obtain ownership ofthe Policies, and working with uniamied financers tO secure
and pay premium payments to American General through. third-party BOLITCRS.

77, The Trusts and Trustees engaged in multiple overt acts set out herein in furtherance
of this conspiracy, including, but not linited to, meeting with the Brokers and/or Insured,
misrepresenting information on insurance applications, causing third parties to submit false
and/or fraudulent information to American General with the intent to induce Ameri¢an General
to issue the Policies, establishing Trusts to obtain ownership of the Policies, and working with
unnamed financers to secure and ‘pay premium payments to American General through third-
party sources.

78. The Brokers engaged in multiple overt acts set out heréin in furtherance. of this
conspiracy, including, but not limited to, meeting with the Insured, ‘Trustees and financers,
misrepresenting information of insurance applications, caiising third. parties to submit false
and/or fiauduleni information to American Genetal with the intent to induce. Asmerican Gerieral

to issue the Policies, aiding in the establishment ofthe Trusts to-obtain ownership of the Policies,

2]
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 23 of 35 PagelD 1617
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~ and working with unnamed financers to secure and pay premium paying: 16 American General .
“trough thirdeparty sources.
79. In addition 10° directly violating state Taw, said écheme consisted of numerous
Brandulent sets sind idsroprédeniatjtis on the partof Deferdanis setout herein.

ee __ Ametican General was eins eon) sp it mim substantial motietaty

insurable interest Jaws.

8]. As a result of the misrepresentations and concealment by Deferidants, American
General has been forced ta expend money and resources, amdng other ways, in its underwriting
and issuarice of the Policies, in its administration and servicing of the Policies, ‘in. its
investigation of the misrepresentations, suppressions and. concealient set forth herein, and. in
bringing this action for relief. Thus, American General is entitled to retain the premiums paid on
the Policies by way of disgorgement and/or offset of damages incurred by American General as a
tesult of Defendants’ fraud.

82. Although in this and other Counts herein American General has demonstrated its
entitlement to retain the premiums paid on the Policies at issue in this action and has sought a
declaration from this Court accordingly, American General hereby constructively tenders the
premiums on the Policies 10 this Court and statida ready to pay the premiums into the Court
registry should the Court so require. American General respectfully states that its seeking a
declaratory judgment that it is. entitled to retain the premiums isin nd way intended to waive

American General’s entitlement t6 rescind atid/or void the Policies.
WHEREFORE, premises considered, American General :respectfully. requests an Order

including or directing the following relief:
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 24 of 35 PagelD 1618
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’ ora declaratory jud gment stating that the Policies did not take effet fr .
failure of the performance of a condition, precedent pecase the Defendants materially
smistepresented the ire. facts in-the Policy applications;

‘b, In the alternative, for a declan atory jude stating. fat the Policies were:
void at initio “ae A “yesult of Defendants’ ‘material misepresetations upon which
Atnerican General: relied in good faith
£ In the alfemaiive for a declaratory. judgment stating that: the application of
‘Fila, Stat, § 627. 409(1) requires restission of the Policies;
4 In the alternative, fora. declaratory judgment. stating that the ¢ applictien of

Fla. Stat. § 627. 404 reriders the Policies void;

8. For an.award of money / damages to be. determined at trial;
f. For an award of American General’s-costs incurted in this action;
g. For a declaration that American General is entitled to retain premiums

paid on the Policies; and
h. For other such relief the Court deems proper, just and equitable.
- COUNT FIVE
Aiding and Abetting Frand

(Against the Brokers. and the Trustees)
83, Americati Genéral realleges.and incorporates by reference. herein ‘paragraphs 1-44

of ‘the Complaiit.as if set forth fully herein.
B4. As alleged herein,. the Insured (1).made fraudulent miérépresentations to American
“General and (2) engaged in fraudulent acts and/or. ‘roudulently concealed fron. American

General facts material to the risk on the Policies.

23
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 25 of 35 PagelD 1619

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8 Acting. with the intent to.. perpetrate a fraud: and. in. . firtheraice af ihe fraud mo
perpetrate on” America’ General, ihe Brokers substantially aided anid assisted the Insured in
. carrying: out this fraudulent STOLI scheme i in.or around. May ~ August 2007 by. assisting | the

Insured dn his fraudulent éommunications and: represeitations to. Aimerican Gehetal, ‘neliding.

causing: third parties to. submit false and/or fraudulent information to. American Generiit with. the
intent fo: ‘aide Anescan General 104 issue, the Poliéies, and: by iharketing aid providing AN.
‘organized iniethod: of engaging in and furthering said STOLT scheme: At all times relevant

hereto, the Brokers’ knew" that the above-meritionéd actions were. in furtherance of the fraudulent -

STOLI scheme.

86. Acting with ihe interit to perpetrate a fraud and in furtherance of the fraud
perpetrated on American General, thé Trustees substantially aided and assisted the Insured in
carrying out this fraudulent STOLI scheme in or around May ~ August 2007 by establishing and
serving as trustees for the Trust to conceal the absence of an insurable interest in connection with
the Policies and by facilitating the premium payments on the Policies made to American
General. At all times relevant hereto, the Trustees knew that the above-mentioned actions were
in furtherance of the fraudulent STOLI scheme.

87, American General was damaged by said aiding and abetting fraud, ag it paid
substantial monetary commissions and is now responsible for issting Policies that it has since
learned violate state insurable interest laws.

$8, As ‘é result of said aiding and abetting fraud, American General has ‘been, forced 10
expierid toney and-resources, amotig othet ways, in its utiderwriting and issdatiee of the Policies,
in its.administration and servicing of the Policies, in its investigation of ‘the rhistepresentations,

suppressions and concealment set forth herein, and in bringing this action for relief. Thus,

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Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 26 of 35 PagelD 1620

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American General isentitied soretain the premiuinis paid on the Bolicies by way of'disgorgement

and/or offset of damagés ihourred by Amétican Gétieral ag.a-result of the Brokers” andthe

Trustees! aiding and abetting fraud,

89, Although in this aiid other Counts herein Agferican General has: demonstr ate. its

ented to retain the. premiums paid on the Policies al issue: ‘In this fiction arid. has. sought a
declatation from. this Court accordingly, ‘Aivericai: Genetal hereby congsively tentlers the .
premiums on: 1 the Policies io this Court and stands teady fo pay the premiums into, the Court
registry should the Court $0 require. American General respectfully states that its seeking &
declaratory judéinent that it is entitled-to rétdin the. premiums is in no way intended to waive
American General's entitlement to rescind and/or void the Policies, .

WHEREFORE, premises considered, American General respectfully requests an Order

including or directing the following relief:

a. For a declaratory judgment stating that the Policies did not take effect for
failure of the performance of a condition precedent because the Defendants materially
misrepresented the true facts in the Policy applications;

b, In the alternative, for a declaratory judgment stating that the Policies were
void ab initio as a result of Defendants’ material misrepresentations upon which
American Genéral relied in good faith;

, in the alternative, for a declaratory judement stating that the application of
Fla, Stat, § 627:409(1) requires rescission of the Policies;
4a Iti thé aliemative; ford declatatory judgment stating that the application of -
Fla. Stat. § 627.404 renders the Policies void;

ey For an award of rrioney damages to be determined af trial;

25
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 27 of 35 PagelD 1621
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Ff, For arn award Of, American General’ 8 costs incurred i in this action;.

& for a deblaration that America: Gejeral is: ented to: ‘retain premiums

paid. on the Policies; and

Bh, “Bot other si relief the Couit deems piopet just and equitabie.

Declaratory Judgment for Determin jon. and Payment. of Commission Chargebacks
Owed on the Policies by Brokers to. American General
(Against the Brokers)

90, American General realleges and incorporates by reference herein par agraphs 1~44
of the Complaint as if set forth fully herein.

91,  Coftimissions paid to Wechsler and/or his corporate entities named herein in.
connection with the Policies: Amount 1 be determined at Trial,

92, Commissions paid to Bechtel and/or his corporate entities named herein in
connection with the Policies: Amount to be determined at, Trial.

93. Asa result of American General’s decision to rescind and/or void the Policies and
constructively tender the premiums as set out herein, the Brokers are not entitled to the
commissions they have received in connection with the Policies.

94. The commission sums paid to the Brokers in corinection with the Policies were
sums that neither the Brokers nor. any broker genetal agent-was: entitled to receive by reason of
American General's decision to rescind the Policies and the fact that the Policies are void.

95, American General has been forced to expend money and resources, among other
ways, in its underwriting and issuance of the Policies, in its administiation and servicing of the
Policies, in its investigation. of the mnistepreseritations, suppressions and concealment set forth

herein, and in bringing this action for relief. Thus, American General is entitled to retain the

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Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 28 of 35 PagelD 1622
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premiums paid on the Policies by: way of aisgorgenent anidfoi ofl of damages incurred by
A metiean General.
96. Although i in this. and, other Couns hein Ametican et hes: demonstrated its.
entiilesiient td: jetain ihe} pretnjus paid on nthe Policies at issue. in n this. action and fas sought: a
° declatation from. this Court accordingly Ametican General bereby coohdtiuetively tenders ihe :
premiums on.the Policies to this Court and. stands ready to pay the preston “Into the Court
registry: Bhould: the Court #0 require, Aniéricati General respeciflly states that its seeking a
declaratory judgment that it is erititled to-retain’ ‘the premiums is in: no way intended to waive
American General’s entitlement to rescind and/or void the Policies
WHEREFORE, preinises consideréd, American General respectfully requests an Order |
including or directing the following relief:
a For a declaratory judgment stating that American General is entitled to
commission chargebacks against the Brokers, plus interest thereon, according to proof as

‘presented at trial;

b. For an award of American General's atiomeys’ fees and costs incurred in
this action;

c For a declaration that. American General is entitled to retain premiums
paid oni the Policies;

d, For a declaration that American. General is “éntitled: lo apply sums

otherwise payable to-the Brokers against the wrongfully credited commission amounts set
out herein; and

e.  Forother such rélief the Court deems proper, just:and equitable,

27
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 29 of 35 PagelD 1623
_ Case 8:15-cv-00192-EAK-AEP Document 40-1 Filed 01/19/16 Page 112 of 149 PageiD 472

- “Against Brokers).
07. American General realleges anil incorporates by telererice: heiein paregiiphs 144
of: the Goitiplaint a as: 'if'set forth fully herein,
98. ‘Ameticen General entered dito valid and enforceable written agrecinents with etch
Broker named herein that pertain to the coriduct and facts alleged herein,

99. Brokers each have breached said contracts with. American General.

100, As a direct; actual and proximate result of Brokers’ breaches of their contracts,
American General has been damaged as set out. herein,

101. American General has.rétained the undersigned counsel to bring this action and 16
obligated to pay a reasonable fee for their services, American Gerieral setks recovery of costs,
disbursements and reasonable attorneys’ fees incurred in bringing this action pursuant to the
governing agreements,

WHEREFORE, premises considered, and without waiver of any rights to compensatory
and exemplary damages, American General respectfully requests an Order including or directing

the following relief:

a, For an award of money damages to be determined at trial;

b. For disgorgement of any and all proceeds and profits obtained by Brokers
as a result of their breaches of contracts or other improper-conduct in conriection with the
Policies;

c. For an awatd of interest, costs, ahd attorneys’ fees, and other, general and
further relief at law or in equity 10 which Ametican General is entitled under the

- Circumstances.

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COUNT BIGHT.
egligente
(Against Brokers).

102: Atnetican General ‘tealleges. and: inconporates by reference herein paragraphs 1-44

of the: Complaint a: if act forth: fully: herein:
103. Brokers were: under a duty of care to: American Genet to procure the. Policies ina.

manner consistent -with Brokets’ -coiitrptts with A siiericath: General. and in a ‘manher: consistent .

with state Jaw and public palicy.

104: Brokers breached that duty of-care as set out heieiih.

105, Asa direct, actual and proximate result of ‘Brokers’ breach ‘of the duty of care,
American General has been damaged as set out herein.

106, American General has retained the undersigned counsel to bring this action and is
obligated to pay a reasonable. fee for their services. American General seeks recovery of costs,
disbursements and reasonable attomeys’ fees incurred in bringing this action pursuant to the
governing agreements.

Ww HEREFORE, premises considered, and without waiver of any rights to compensatory
and exemplary damages, American General respectfully requests an Order including or directing
the following relief:

a For an award of money damages to be determined at trial;
ob For disgorgement of any and all proceeds and profits obtained by: Brokers
as a result of their negligence in connettion with the Policies;
8k For an. award of isiterest, costs, aid attorheys * fees, and.other, ‘general and
further relief at Jaw or in equity to which ‘Amierican General is entitled under: the

circunistarices.

29
Case 8:15-cv-00192-AEP Document 127-15 Filed 05/02/17 Page 31 of 35 PagelD 1625
Case 8:15-cv-00192-EAK-AEP Document 40-1 Filed 01/19/16. Page 114 of 149 PagelD 474

gaint: All Defendants)
107. Aiierioan General realleges and Anoorporates by. reference: herein paragraphs 1-44

of the: Complain as: if set forth fully hefein:

108, Defendants: made: false stalembrits OF. omissions of vata: fact to. Amerivan
General; as. set out with paviulatty throughout ‘tis Commplait, in connection with thé:

Prociirenient of the Policies.

109. Defendants: shade these false statements and/or @missions- of. material fact either —
willfully with intent to'deceive or in reckless disregard of their falsity of materiality, and with the
intent that Aniericani General act in reliance upon their false statements and/or omissions of
material fact.

110, American General in fact.relied to ite detriment. on Defendants’ false statements
and/or.omissions of material fact.

y 1, American General has been damaged, as set out herein, as a direct, actual and
proximate result of the Defendants’ fraud.

WHEREFORE, premises considered, American General respectfully requests an Order .
including or. directing the fol lowing reli ef

bob:

a For -an award of money damages, including punitive damages, to be
determined a at trial:
bh. _ For disgorgement of any and all proceeds and profits obtained by the
- Brokers, Trusts;.and Trustées-as a result of their ftaud in connection with the Policies;
t: For an award of interest and costs and other, general and further rélief at

law or in equity t6-which it is entitled under the circumstances,

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: Plaintiff deminds trial by jury of all issues so-triable,

DATED: July'31, 2009.
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' THE

AMERICAN GENERAL LIFE -
INSURANCE COMPANY,

: Plaintiff,
Vv.
MICHAEL SASONI _—.2007-1

INSURANCE TRUST, AND MICHAEL
SASONI 2007-2 INSURANCE TRUST, by and

through their Trustee; CHRISTIANA BANK & -

TRUST: CO.; ‘as. Trustee of The MICHAEL

‘SASONI 2007-1: INSURANCE TRUST and

MICHAEL SASONI 2007-2 INSURANCE

' TRUST; MICHAEL SASONI, individually,

STEPHEN B. WECHSLER, individually and as

' principal of the Wechsler Financial Group, Inc.;

WECHSLER FINANCIAL GROUP, INC.:
KEVIN BECHTEL, individually and as
principal of Life Brokerage Partners, LLC: and
LIFE BROKERAGE PARTNERS, LLC

Defendants.

IN THE ELEVENTH JUDICIAL.

CIRCUIT IN AND FOR MIAMI-
DADE COUNTY, FLORIDA

CASE NO.: 2009-57024-CA-01_

PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL |
WITHOUT PREJUDICE

Plaintiff American General Life Insurance Company, pursuant to Florida Rule of

Civil Procedure 1.420(a)(1)(A), hereby voluntarily dismisses the above-captioned action

without prejudice.

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing has been
_ fumished by E-mail this Ist day of October, 2012 to: Co

David H, Charlip, Esq. a Jonathan Galler .

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